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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                            )
                                                    )
      v.                                            )     CR NO. 21-CR-244 (CKK)
                                                    )
                                                    )
ANTHONY GRIFFITH                                    )

                              NOTICE OF FILING

      The Defendant, Anthony Griffith, by his counsel, Kira Anne West, hereby files

this notice of filing 4 additional exhibits to the defendant’s reply (ECF No. 107) to

government’s response to defendant’s motion to dismiss counts under 18 USC 1752.

Undersigned counsel believed that these had been filed with the reply but for some

technical mishap, they were omitted.


                                       Respectfully submitted,

                                       KIRA ANNE WEST

                                By:             /s/
                                       Kira Anne West
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                          CERTIFICATE OF SERVICE

      I hereby certify on the 23rd day of January, 2023 a copy of same was

delivered to the parties of record, by email pursuant to the Covid standing order

and the rules of the Clerk of Court.

                                                  /S/
                                             Kira Anne West
